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saudi oramco

 

 

We are engineering solutions in-house that continuously enhance our productivity and

efficiency In producing and delivering products to our customers.

As a company of engineers, we're driven by the idea of overcoming the seemingly impossible.
We're always looking for ways to increase the safety, efficiency, and environmental

performance of our operations. From exploration to production, we regularly develop new and
innovative in-house solutions to ensure we continue to reliably and sustainably meet the needs

of our customers.

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Shallow Water Inspection and Monitoring Robot (SWIM-R)

Shallow Water Inspection and Monitoring Robot

Designed, developed, and tested in less than two years, our Shallow Water Inspection and

Monitoring Robot (SWIM-R) enhances pipeline inspection speed, efficiency, and safety.

The robot can be remotely operated to perform underwater inspection tasks in shallow
water environments, which prove difficult for traditional diving support vessels. The SWIM-R
robot can be deployed from shore or by using a low-cost inflatable vessel, reducing

inspection time and costs, and can complete inspection tasks four times faster than divers.

is protected by seven filed patents.

Developed at our KAUST research center, the technology

Saudi Aramco Inspection Robot

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Our proprietary Saudi Aramco Inspection Robot (SAIR) is a magnetic robotic crawler capable of
conducting visual inspection, ultrasonic thickness gauging, and gas sensing on hard-to-reach
steel surfaces. It reduces potential hazards, inspection times, and costs associated with the

erection of single spherical tank scaffolding used for inspection activities.

The SAIR is self-contained, wirelessly operated, and offers advanced levels of maneuverability

and dexterity while moving on steel surfaces across a wide range of curvatures.

 

Saudi Aramco Inspection Robot (SAIR)

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Robotic Dust Mitigation

Robotic Dust Mitigation

Cleaning solar panels has long been a manual task but thanks to a new technology developed
by our Research and Development Center in collaboration with King Abdullah University of
Science and Technology (KAUST), a robotic solution cleans the panels and help avoid a

significant reduction in efficiency of the energy collecting solar panels.

Dust accumulation on solar panels can have a seriously detrimental effect on the output of
solar arrays. To maximize profitability and productivity, it is necessary to reduce accumulated

dust and debris without causing damage to the panels, while also avoiding significant water

wastage.

Our robotic, dry cleaning technology is fully automated to run on schedule or command. The
technology is cost efficient while being highly durable, making it reliable even in dry, arid

climates like those of Saudi Arabia.

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The technology is now ready to help us realize the full profitability potential of automated dust

cleaning technology for large-scale deployment of solar power in the region and beyond.

Meet RIC, the Robotic Inspection Crawler, developed at Aramco's Research and Development centre.

 

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- TeraPOWERS

| Since Saudi Aramco's cornerstone reservoir modeling technology - POWERS - was first

| deployed in 2000, it has taken evolutionary steps from mega-cell to giga-cell and now to
industry-first tera-cell simulation capability. With the world’s first trillion-cell run,
TeraPOWERS is a major breakthrough for the company and the global scientific
community. Achieved in collaboration with the King Abdullah University of Science and
Technology, TeraPOWERS will be able to simulate oil migration problems in the Kingdom

| ina fraction of the time it once took.

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ABU DHABI, November 11, 2019

Saudi Aramco participates in the 2019 Abu Dhabi International
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RC Plug: A journey from inspiration to
commercialization

In a novel approach to address the challenge of losing drilling fluids and mud in drilling operations, we are
exploring the potential of local date tree seeds and fibers as loss circulation materials.

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Addressing global energy challenges is important to all of us. Achieving the necessary technology breakthroughs

requires access to the best ideas, people, and partners around the world.

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